                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                     )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )               No: 3:06-CR-147
                                               )               (VARLAN/GUYTON)
 DARRELL CARTER,                               )
                                               )
                Defendant.                     )


                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This matter is before the Court for consideration of the defendant’s

 Motion to Carry a Laptop into the Pretrial Detention Center [Doc. 101], filed on February 27, 2007.

                In his motion [Doc. 101], Defendant Carter requests that his attorney and/or

 attorney’s staff be allowed to carry a laptop computer into the Knox County, Tennessee, jail to allow

 the defendant to listen and view audio and video CDs. Defendant represents that the Government

 has no objection to said motion. Accordingly, Defendant’s motion [Doc. 101] will be GRANTED

 for the sole purpose of allowing Defendant to view and listen to audio and video CDs and DVDs

 pertaining to his case.

                IT IS SO ORDERED.
                                               ENTER:


                                                   s/ H. Bruce Guyton
                                                      H. Bruce Guyton
                                               United States Magistrate Judge




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